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                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               NUANCE COMMUNICATIONS, INC.,                             No. C 08-2912 MEJ
For the Northern District of California




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                                                              Plaintiff(s),                             ORDER GRANTING PLAINTIFF'S
    United States District Court




                                          12                                                            REQUEST TO COMPEL RESPONSES
                                                 vs.
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                                               ABBYY SOFTWARE HOUSE, et al.,
                                          14
                                                              Defendant(s).
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                                                       The Court is in receipt of the parties' joint letter, filed March 9, 2009, regarding Plaintiff
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                                               Nuance Communications, Inc.'s request for Defendant Abbyy USA to provide the name and address
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                                               of the registered agent for each non-U.S. Abbyy entity. (Dkt. #80.) Good cause appearing, the
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                                               Court hereby GRANTS Plaintiff's request. Defendant shall serve, by March 20, 2009, the name and
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                                               address of the registered agent (or the equivalent thereof) for each non-U.S. Abbyy entity.
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                                                       IT IS SO ORDERED.
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                                               Dated: March 12, 2009
                                          24                                                              MARIA-ELENA JAMES
                                                                                                          United States Magistrate Judge
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